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UNITED STATES DISTR_`[CT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
JEFFREY S. SExToN, )
)
Plaintiff, )
) Case No. 4:04 CV 773 CDP
vs. ' )
)
CoNsoMER PROGRAMS lNCoRPoRA'rED, )
)
Defendant. )

AFFIDAVIT oF JANE NELsoN

I, lane Nelson, being of lawful age and sworn upon my oath, state as follows:

l. Consumer Programs lncoiporated, a wholly owned subsidiary of CPl Corp.,
(altematively and to gether, “CPI” or “Company”) has employed me as its general counsel since
1993. lhave also held the office of corporate secretary since 1993.

2. As CPl’s general counsel, lhave a working knowledge of the terms and
conditions of the Company’s maj or agreernents, including, without limitation, its employment
agreements With its high level executives

3. Since at least 1998, the Company has entered employment agreements With its
high level executives that include substantially the same provisions regarding severance pay and
supplemental retirement benefits Members of the Company’s executive committee of officers
are or have been employed under these agreements, including executives in the following
positions: (a) chief executive officer; (b) president; (c) executive vice president, finance and
chief financial officer; (d) executive vice president, organizational development (fonnerly,

executive vice president, human resources); (e) executive vice president, chief information

APPENDIX ONE

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officer; (f) executive vice president, manufacturing; (g) executive vice president, marketing and
(h) secretary and general counsel

4. The attachment to this affidavit entitled Exhibit One contains anne and accurate
copy of the employment agreement between CPI and leffrey S. Sexton (“Agreement”). l have
personally reviewed the Agreement and the employment agreements between the Company and
its high level executives since 1998 in the nonnal course of my perfonnance of my job duties.
The Agreement contains substantially the same provisions regarding cause for the termination of
employment, a change of control affecting the Comp any, retirement, vesting percentage, base
salary, other compensation plans, benefit plans, death benefits, disability benefits, supplemental
retirement benefits, termination of employment, severance pay, gross-up for parachute tax, and
the determination of benefits and claims procedure as do the employment agreements for CPl’s
other high level executives

l, Jane Nelson, have both read and understood this affidavit consisting of the four

numbered paragraphs above. l confirm the truth and accuracy of the contents of those

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Ji Nelson
retaly and Gener al C
Consumer Plogi ams Incoip S:t-ted

paragraphs to the best of my knowledge

Subscribed and sworn to before me personally 011 this M of June 2004.

E9MIMM

Notai'y Public

 

My commission expires: 5// ?/0 b I\{I~bAtaz-y Puiil'icé: Nota:;§l;]
sms or Ml'ssoum
ST. I.OUIS GTY
- MYCONMSSION ExP. AUG. 19.2005

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EI\aP LOVMEN'I` AGREEMENT
AGRBELI§NT, dated Ma.rch 10, 2003, between CONSUMER PROGRAM§
INC{)RPOP.ATED, a lvlissouri corporation (the “Corporation"), and JEFFREY SEHXTON (the
4 "Ei~:ecutive"). `
WH_EREAS, the Corporation desires to employ the Exeentive in the capacity of Execnt:ive
Vice President.v'(f`_,hief Infonnation Ofdcer, and the Execntive will be one of the key executives of
the Corporation;

~ WI-IEREAS, there is much competition for the type of bnsiness performed by the .
Corpor-ation' in the locales in which the Corporation operates, and the Corporation and Exec:ut_ive
acknowledge that the Corporation is active in the product markets in Wl:iicl:i it competes;

> TTIEREAS, .Executive, dining his employment, will be entrusted with confidential
information;. and g

l -WER.EAS., Bxecutive and the Corporation recognize and acknowledge that, to ensure
the continued growth and stabth of the Coxporanom it is necessary to obtain an agreement f`rom' `
Execntive not to compete With the Co@oiation and not to disclose confidential information of
the Corporation.

7l\TCJ`W._, THEREFORE, in consideration of the mutual promises contained herein and other

good and valuable consideration the parties hereto hereby agree as follows:

l - 'Deiinitions. For purposes of this Agreement:
(a) "AfEliated Companies" shall mean any corporanon;:'(or other business
1 .

 

 

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entity) controlling, controlled by or under common control with thc Co:poration.

(b) "Beneticiary" shall mean the person designated in writing by the Execntive
as his beneficiary under Tbis Agreement, or in the absence of such designation, his estate.

(c) "Cause" shall mean: ‘

4 (l) prior to a Change of Control, (i) conduct or activity df the
Executive materially detrimental to the Corporation's reputation or business (inc`luding financial)
operations; (ii) gross nor habitual neglect or breach of duty or misconduct of the Executive in
discharging the duties of his position; or {ii_i) prolonged absence by the Executive from his duties
(other than on account of illness or disability) without the consent of the Corporation. ‘

(2) after a Change of Control, (i) an act or acts of dishonesty on the
Executive’s part which are intended to result in his substantial personal enrichment at me expense

of the Corporation; {ii) any material violation by the l':`.xecutive of his obligations and covenants
pursuant to this Agreement Which is demonstrably willful and deliberate on the Executive‘s part
and which results in material injury_to the Corporation; or (n`_i_} the conviction of Executive of a
felony or cfa crime involving moral turpitude

(d) A "Change- of Control" shall mean a change in control cfa nature that
would be required to be reported in response to Itern l(a) of the Current Report on Por;m B;K, as
~ in effect on the date bereof, pursuant to Section 13 or ‘l S(d) of the Seci.u'ides Exchange Act of
4193¢7, as amended ("Exchsnge Act") or would have been required to be so reported but for the
act ear such event aaa been previously repoaed" as ala rem is deems in ante 1 2a2 er
llegulation 123 of the Exchange Act unless the transactions that give rise to the change in

control are approved or ratified by a majority of the members of`-the hicrnribent Boa.rd of CPI

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Colp. who are not employees of_the Corpora.tlon; provided t`l'latd without iimitation,
notwithstanding anyd:ing herein to the conn-ary, such a change in control shall be deemed to have
occurred if (a) any_Person is or becomes the beneficial owner (as defined in Rule l3d~3 under the
Exchange Act), directly or indirectly, of securities of CPI Corp. representing 40% or more of the
combined voting power of CPI Corp-'s then outstanding securities ordinarily (apart_ :E_'om rights

accruing under special circumstances) having the right to vote at elections of directors ('*Voting

Secundes"), {b) individuals Who constitute the Board cf CPI Corp. on the date hereof (the

` "lncumbent Board") cease for any reason to constitute at least a majority dieteof, provided that '

any person becoming a director subsequent to the date hereof vvhose election or nomination for
election by CPI Corp.' s shareholders, Was approved by a vote of at least three-quarters of the
directors comprising the Incumbent Bcard (either by a specific vote or by approval ot` the proxy
statement of CPI Corp_ m which such person is named as a nominee for director, without
objection to such nomination) shall be, for purposes of this clause (b), considered as though such
person .Were a_mexnber ofthe Incumbent Board, or (c} approval by the stockholders of CPI Corp_
of a reorganization, merger or consolidation1 in each case, with respect to which persons who
Were the stockholders of CPI Corp. immediately prior to such reorganization merger or '

consolidation do not7 immediately thereafter, ou'n, directly or indirectly,_morc than 5 0% ofthe

V_ combined voting power entitled to vote generally in the election of directors ofthe reorganizedb

merged or consolidated compaan then outstanding voting securities or a liquidation or
dissolution or`CPI Corp or ofthe sale of all or substantially all of the assets of CPI Corp. For
purposes of this Agreemcnt, the tenn "Person" shall mean and include any individual,

corporation partnership, group, association or other' "person,' as such term is used m Section

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..__.._ ._. . h.._ l nn m¢_». - _>J_¢x::\cn:snnz:i‘: [*'ial:;. 1213 2@|214 252 3@|='|"] F'S

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l4(cl) ofthe Exchange Act, other Tlian CPI Cozp., the Comoration or an Affiliatcd Compzmy or
any employee benefit plan(s) sponsored or maintained by thc Corporation or any A;Eiiliated
Company. `

(e) "Codc" shalllmean the Intemal Revenue Code of 1986, _as may be amended
nom time to time _

(o "coaamddg oee¢rqrs" alan have ne meaning 3d edna in Pardgrdph 3{@)
ofAIticle 'l`en of CPI Corp-'s Certiicate of Incorporatlon.

(g) "I-`iscal Year" shall mean the 13 ideal Ycar of the Corporation.

{h)_ "Pmmnt nisdbinry" Saan mean an immune of nxedudve m penem
the oel'vices contemplated by Section 4 hereof for a period of at least one hundred eighty (180)
consecutive calendar`days or for thirty-five (35) weeks (Whether or not consecutive) in any
twelve (1_2') month period on account of any siclcness, itg'uzy or other infinnity or disability._

(i) . "Retirement" shall mean the Executive's voluntary or innoluntary
termination of employment with't]le Cozporatlon except for termination on account of (A) Cause _
as denndd in sub'sdcdon e(b) heredia (B) death of (c) Pcmandnr oisabinty deford ammag age
Si>cty-?Eve (65}. -

(1') “"_|"erm ofEmployment" shall have the meaning set forth in Seciion 3
hereof

n (lc) “Vesti_ng Percentage" shall mean the iicrcentage of Supplementa.l
Redrement Benefits, death benefits, and disability benc§ts in which Executive has a
nonforfeitable interest (except in the event of terminafion for Cause) l)ased upon TJ:le number of

Years of Service Executive has completed, determined as follows: -v

 

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Comoleted Yesrs of Service Vesting Percentage

O%

l O%
20%
30% '
40%
509/n
60%
70%
SG%
90%
100%

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Notwiths'tandmg anvtbing herein to the conu’ary, if Executive’s employment with the Corporation

d tenni_nates following a Change of Control, unless such termination is for Cause for purposes of
Subsections S{g), 5 (h) and 5 (1) of this Agreement Executive shall be deemed to have completed
ten (10) Years of Servicc and his Vesting Percentage shall be deemed to be l OO%-

(1) n "Year_ of Servicd" shall mean any r-isca‘i Year doing which die massive
has Worl:ed for die Comoration at least one Thousand (1,000) hours, including Fiscal"Y-'ears prior
to the effective date of this Agreenient. .

2.. _ Emglo§_@ent. 'l'he Corporation hereby employs and engages the services ofthe
Executivc: as one of1ts key executives in the position of Executive Vice President/Chief
information Ofl:icer, for the '.l`errn ofEmployment set forth m Section 3. The Execntive agrees to
serve the Corporation for the 'I`erm of Employment as provided herein

3- Term of Ernploy:c_nent_ 'l'he Exccutive‘s Terrn of]:`.mpl-oyment shall be a period

commencing on the date hereof and readingsT one (]) year therea&er; providedj however, that upon

.;'.-.

 

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the expiration of the aforesaid period (the "Expiration l'Ja.te") the Term of Employment shall
continue unless E>cecutive or the Corporation notifies the other in Writing of termination offliis
Agreement. Notwithstanding anything herein to die contrary, the 'I`erni of Employment shall
terminate upon E);ecutive’s death or Permaneut Disal)ility as Set forth in subsecqu 6(3) hereof or
upon the Corporation’s termination ofEXecutivc"s omplo_wnent for Causc pursuant to_ subsection
6(b) hereof 'The Tenn of Employment shall also terminate upon the Exeeutive's attainment of

age 65, unless the Board ofDirectors of CPI Corp_ requests that the Executive extend his 331-vice
to the Corporation after age 65- No such extension shall exceed one year provided that the
Terrn may thereafter be renewed horn year to year by request of the Board ofDirectors_

'4_ Position and Duties.

 

(a) Prior to a Change of Control, during the Tenn of Employment, the
Executive shall serve the Corporation in- such capacity as the Co@oration may determine Afl‘,er
_ a lCliai:ige of Coutrol, during the Temi of Employment, the Executive's posi1ionj authority and
responsibilities the type ofwork he is asked to perform_, and the status and stature of the people
with whom he is asked to Work shall he comparable to that existing With respect to the
Execuj:ive as of the date immediately prior to the Change of Control, and after a Change of
` Control Ithe Executive‘s services shall he performed at the location where die Execut:ive was
employed as oil` the date immediately prior to the Change of Control, or at such other location as
map he mutually agreed between the Corporation and the Exeeuiive.
(b) 'I`he Executiveagrees to devote his full business time during normal
" business hours to the business and affairs oftlie Corporation (except ss otherwise provided '

herein), to use his best etiorts to promote the interests of the Corpora‘don§§:a;nd its'Affiliated

 

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Companies and to perform faithfully and efficiently the responsibilities assigned to him in
accordance with the tcrlns of this Agreernent _to the extent necessary to discharge such
responsibilities, except for (i) service on corporate, civic or charitable boards or committees not
significantly interfering with the perfornaance of such responsibilities and:(ii) periods of vacation
and sick leave to which he is entitled lt is' expressly understood and agreed that 1'hc Executive s

' continuing service on any boards and committees with which he shall be oonnected, as a member
or otherwise, as ot` the date hereof or any such service approved by the Corporation during the
Terrn of Emplo}rnent, shall not be deemed to interfere with the performance ot` the E)tecutive s
services to the Corporation pursuant to this subparagraph rt(b)-

5. Comoensation and Other Conditions ofEmnlo\,ment.

 

(a) ' 'Ba-se Salarv. punng the Terrn ofErnploymen; the Executive shall receive
an annual base salary (T.hc "Base Salary"), in equal instalhnents payable bi-Weekly or_ at such
other intervals as salary is normally paid by the Cor;')oration to its employees, at an annual rate
.estahlished by the Corjporation and any A.Eliated Companies as of the date hereof Exeontive'g
Base Sa_lary for Fiscal'Year 2003 is sct forth on Exh.ihit A, attached hereto and incorporated
herein The Base Sa]ary shall be reviewed at least once each year and maybe increased at any
time and from time to time by action of the Board of Directors of CPI Corp., any committee
thereof or any individual having authority to take such action1 in accordance with the
Corporation' s regular practices Any increase in the Base Salary shall not serve to limit or reduce
any other obligation of the Corporation hercimder, and after such' increase the Base Salary shall
not he reduced &om such increased level.

(b) Bonus. Aiier a Change of Control, in addition to the Basc Salary, the

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Executivc shall be awarded for each .'Fiscal Year during the 'l`crrn oi`Ernplcyrnent an annual
bonus (the "Annua] Bonus") (pursuant to any bonus plan or program of the Corporation, any
incentive plan or program ofthc Corporation, or otherwise) in cash at least equal to the highest
bonus paid or payable to the Executive in respect of any ofthe three Fiscal Years immediately

prior to the date ofthe Change of Control. Prior to a Changc of Ccnu'ol, the amount of`the

pfthe Corporation and its Ajj'ilia.ted Companies (collectively, the "Savings Plans"), on a basis at

least equivalent to that provided by`the Corporation and its Amliated Companies to the ‘

 

 

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receive as benefits under all other benefit plans of die Corpoiation and its Af£liated Companies,
including without limitation, medical, dental, disability, group life, accidental death and travel
accident insurance plans and programs (collectively, the “Benefit Plans") on a basis at least as .
Pavorable to the Executii_re as on the date immediately prior to The date of the Chang_e Of Conttol.
' Pri_or to a Cliange ofConirol, the Executive's and such other persons' entitlement to participate in
the Benei_it Plans shall be determined in accordance with the Cotporation's regular practice
l {e) Expenses. During the leon o~fErnployrnentj the Execntive shall be
entitled to receitre prompt reimbursement for all reasonable expenses incurred by the Exeeuzive
in accordance With the regular policies and procedures of the Corporation.
(t) ' Ofi:ice and Supporl: Staf‘t`. After a Change of Control the E>:eeutive shall

. be entitled to an office or oEces of a size and With innishings and other app-oinunents, and to
secretarial and.other assistance, at least equal to those provided to the Executive as of the date
immediately prior to the date of the Change of Conu'ol_

(g) Death Benefits. In the event ot`Execut-.ive‘s death‘after

completion of at least ten (10) Years of Scrvice, unless (1) iixecutive‘s employment with the
Corporation was terminated for Cause or (2) Execntive (or his Beneiciary) is entitled to receive
Suppleruental -R,etirement BeneEts pursuant to subsection S(i_), the Corporation shall pay to
Executive' s Beneticiary an annual death benefit equal to forty percent {40%) fbut not to exceed '
5150 000) of the highest annual lBase Sa_'lary paid to Executive from and ajer Fiscal year 2002 (as
defined in subsection S(a) hereot), payable in equal monthly installments commencing with the
month_follo\ting the month of Executive's death and ending With'd:te baron-hundred fortieth

(240111) month following the month of Exeeutive's death- la the event dia§h`xecutive dies before

 

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age 65 but has not completed at least ten {lO) Years of Servicc with the Corporation, death
benefits shall be reduced to an amount equal to the benefits determined under the preceding
sentence multiplied by the Vesting Percentage applicable to Executive.
(h) Disabilig Beneiits- ln the event of Executive's Perrnanent g
Disability prior to attaining age 65 and prior to termination of employment With the Corporation,
unless Enecutive's employment With the Corporation was terminated for Cause, the Coiporation
- shall pay‘Executive annual disabilitybenelits equal to forty percent (40%) fhui' not to exceed
$150,000) of the highest annual `Basc Salary paid to Executive from and after fiscal year 20.03,
payable in equal monthly installrnents, commencing with the month follov¢dng the month in
which Executive terminated employment as a result ofl’errnanent Disability and ending lon the
earlier of (i) the month in which Executive reaches age 65 or (ii) the month ofhis' death. in the
event that at the time ofPermanent Disability Executive has not completed at least ten (10') Years
of Service, the disability benefits shall be reduced to an amount equal to the benefits determined
` under the preceding sentence multiplied by the Vesting Percentage applicable to Esecutive.
Disability benefits pursuant to this-subsection (h) shall be reduced by any amounts paid to
Exccutive under the Corporaj_ion‘s long-term disability insurance poli c'y, but shall not be reduced
for any payments received by Execut:ive from Social Security or horn any disability insurance
coverage individually owned by Exccutive- d l -
l (i) d Suuol emcntal Retiremcnt Beneiits.
(1) In the event of Executive‘s Retirement_after completion of at least
ten (10) Years of Service, unless Executive's employment with the Corpdration Was tenninated

for Cause, the Coiporation shall pay Executive retirement benoits for twenty (?.0) years in an

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annual amount equal to forty percent '(40%} {but not to exceed $150,000) ofthe highest annual
Base Salaly paid to E:scecutive J'i'om and after nscal year 2001 ("Suppletnental Retirement
Benefits"). ln the event of Exeeutive's Retircment before completion often (l O) Years of -

l Service, Corpora.u`on shall pay Executive retirement benefits on the same terms as set forth in the
preceding sentence except that retirement benetits shall be reduced to an amount equal to '
Supplemental Retirement BeneEts multiplied by the Vesu'ng Perecntage.

{2) Supplernental R.etirernent Beneftts shall be payable in two hundred
forty (240) equal monthly installments commencing xvi/ith the month following the later of (i) the
month ot` Executive's Retirernent or (ii} the month during which Executive reaches age sixty-iva
(65)- leXecntive dies prior to the end of the two hundred forty (240] month period during
which Supplernental Reu`rement Beneftts are payable, Supplemental Retirernent Bene§ts shall be
payable during the remaindm' of such 240-month period to his Beneiicialy._

(3) Notwithstanding anything herein to the contrary, in the event of
Executiv_e‘s termination ot` employment ndththe Corporation prior to attaining age 65 as a result
of Pezmanent Disability,-it`l£necutive attains age 65 and his employment stith the Corporation
viras not terminated for Cause, the Coiporation shall pay to Executiye the Supplcrnentai
Reu`rement Beneiits set forth in this Subsection 5 (i) in accordance with Executive's Vesting
Percentage, commencing as ofthe month following the month in Wbich E:xecutive attains age 65;
provided_, however, that any Supplemental Retlrement Beuetits paid pursuant to this sentence
shall be reduced by any amounts paid to Executive tmder the Cotporaiion;s long-tenn disability
insurance policy {but shall not be reduced for any payments received .by Execunve nom Soeial

-;`¢-'-'- _
Sc-:ourlty or nom any disability insurance coverage individually owned hy~Execut;ve) for the

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{j) Survivabiliw of Death and Sunplcmental Retirernent Benetits, In the
event of Execu!ive’s Retirement or death, Executive’s entitlement to death benefits nursth to
Subseetion S(g) hereof and Supplernental Retirement Benefits pursuant to Suhseetign S(i) hereof
Shall survive the Term of Employment and I:`,xeeut~lve or his Beneiieiary shall be entitled to Sueh
death heneEts'and Supplemental Retirement Beneflts based on the same terms and conditions as
would have been applicable had his death or Reurernent as the case may he oeeurrecl during the
'l`enn ofEmplo}m-ent.

` (k) Other Beneiits. Ereeutive shall be entitled to received the heneits set
forth on Exhibit C, attached hereto and incorporated herein
6.' Termination ofEm`ployDent.
(a) _ Deth or Peirnanent Disabilitv; A,cre 65. Exoept for the obligations of the

~Corporation set forth inthis Subseetion 6(a), this Agreement shall terminate automatically upon

the Executive‘s dear_`h, Fermanent Di'sahility or attainment of age 65- Iu the event of such

tennjnation, the Corporation shall nay to the lixecutive's Beneieiary or, in the event of -

Permanent Disahility or attainment of age 65, the Exeentive or his or her legal relatesentatii,fes all
l v benefits and Base Salary accrued through the date of 1:¢=.'rrr.dnations including without limitation,

' amounts payable under Subseen'ons 5{¢) and (d) plus any benefits to Whieh .Exeeuf.ive maybe
_ entitled pursuant to Suhseetion S(g), Subseetion 5 (h) or Subseetion 5 (i) hereof

(b) Cause. The Corporatlon may terminate the Exeeutive’s employment for

 

Cause Ii`the Exeoutive's employment' is terminated for Cause, the Corporation shall pay the

Exeeutlve his hill accrued Base Salary through the eHective date of the tennination ofhis

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employment (which shall be no earlier than the date of receipt of notice t];iereot] at the rate in
effect at the time of such tenninadom and the Corporation shall have no linther obligations to the
` E>;eeutive, under this Agreement.
cc) MMMM ' _
(l) l£ prior to a Change of Control, the Corporation terminates
Executive‘s employment fother than for Cause pursuant to subsection 6(h`}'l1ereof), the
Corpora?ion shall pay Executive following such involuntary termination his full accrued Base
Salary through the date of termination of employment plus an amount equal to (i) one hundred
percent (100%) of Eaecutive's Base Salarj`!, payable in twenty-six equal lai-weekly installmenrg_
_The payment pursuant to this Subsecu'on 6(0)(1) shall hein full discharge of any claims, actions,
demands or damages of every nature and description which Executive might have or might assert
against the Corporation or any At=l~iliated Company in connection wid:t or arising nom the
termination of E>;ecutive's employment or the termination cf this Agreement. . .
(2) lt', following a Change of_Contml, the Corporation terminates
Executive's employment (other than for Cause pursuant to Subsec:tiori 6(`[:\) hereot), the
Corporation shall, at The time of such involuntary tennination, make a lump sum cash payment to
Executive equal to `2{`}0% of his Base Salary for the Piscal Year of termination In addition to the
payment pursuant to this Subsection 6(<:){2), Exeeutive shall be entitled to_ all remedies available
undertlu`s Agreement or at law in respect of any damages suffered by Executive as a result of an

involuntary termination of employment without Cause,

7_ Gross-Up For Parachute Tax.

pc.,

(a) General. ln the event that following a Change of §ontrol Executive

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becomes entitled to any payments (whether pursuant to this Employment Agreement or any other
plan, arrangement or agreement) hom` the Coiporation in the nature of compensation ("P arachute
Payments") that in the opinion of a certified public accounting finn (selected in the manner set
forth in Subsection 'l(h)) or that under the provisions of a notice of assessment from the lntcrnal
R_evenue Service causes imposition of the tax under Secticn 4999 cf the Code or any similar tax

that may hereafter be imposed (thc "Excise Tax"), the Corporation shall pay Execritive at the

time specified m Snbsection 7[d), the Gross-Up .Payrnent (as determined m accordance with

Subsection 'F(c)).

'(b) Se]ecticn of C_ P_ A_ Withjn lifteen (15) days sher any termination of
Exccutiv e' s employment following a Changc of Control, the majority of the Continuing Diregtor$
as of the date immediately prior to the Change of Control shall select a certified public 1
accounting him (the "C.P.A.") to determine the amount, ifany, of the Excise 'l`a): and the
amounts if any, of the Gross-Up Payments.
(oc) amount cf Qross-UD Pavments_
(l) 'Ihe Gross~Up Payments shall be in an amount such that the‘net

amount retained by Executive with respect to the Parachnte Payments and `Gross-Up Paynients,

l after deduction of any Excise 'I`ax to which the Parachute Payments may be subject and any

fcdcral_, state, and local income taxes and Excise Tax upon the Gross-Up Payments_1 shall be
equal to the grass memo stale measure Paymems.

(2) For purposes of detennining the amount ofthe Gross-Up
Payments, E:tecutive shall be deemed to pay federal income taxes at the applicable rate of federal

income taxation for the calendar year in which the Gross-Up Paymcnt is t':o"be made and state and

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local income taxes at the applicable rate of taxation for the calendar year in Whieh thc Gross-Up
Payment is to be made.

(3} la the event that'the Excise 'I`ax is subsequently determined to
exceed the amount taken into account at the time the Gross-Up Payment 15 made pursuant to
Subsection 7(d)(l) hereof (ineluding any excess attributable to any Parachute Payments the
existence or amount of Which could not be accurately determined at the time of the Gross~Up
Payrnent), the Corporation shall make an additi onal Gross~Up Payment in respect of such exeegg

_ (plus any interest and addition to tax payable with respect to such eacess} within E:Fteen (15) dayg'

. after the amount of such excess is determined by the C.P.A. or by the lnternal Re'.ienue Seivice

(the "]RS'_') in a notice of assessment l
(d) 'I`irn:ine of Gross-Up Pavrnents_ Gross-Up Payrnents other than Gross~l_lp
Payments pursuant to Snbsection ?'(c) (3) shall be paid not later than forty~iive (45) days
following payment of any .Parachnte Pay.rnents to nihich the Gross-Up Payments are attributable;
provided7 however, d:at if the amount of such Gross-Up Payment or portion thereof cannot be .
finally detennined on or before such day, the Corporati on shall pay to Executive on such day an
esnmam as determined m good faith by the Corporai:lon__, of the minimum amount of such
payments and shall pay the remainder of such payments (together with interest at the applicable
federal rate provided in Section 1274(d) of the Code] as soon as the amount thereof can be
determined by the C_P.A., but in no event later than forty-five (4.5) days after payment of such .
Parachute Payments.‘
' (c) Comoration's Ria'ht to Desianate ‘l`ax Ret)resentativ`e: Assi@ment of

J' .‘
_¢,.

Refund Proceeds_ I_t`the IRS proposes an assessment of the Excise TaJ~: against Executive or

 

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proposes an additional assessment ot`Excisc 'l`ax in excess of the amount previously reported by
Execunve:

(l) Executive shall within ive (5) days after receipt nom the IR.S of

notice ofthe proposed Excise Tax assessment notify the Corporation.in writing and furnish the
l Corporation with copies of all correspondence from the l`RS relating to the proposed Excise 'l"ax
assessment l

(2) 'I'he Corporation shall be authorized to designate an attomey and/or
accountant (the' 'Tax Representa:tive") to serve as Executive's exclusive representative widr
respect to all proceedings with the IR.S relating to the proposed Excise 'l`a>r assessmentl including
but not limited to negotiating a settlement or compromise ofthe proposed Excise 'l`ax
assessmer_n‘j Eling a claim for ren.md with respect thereto, and seelong judicial review of any
disallowance of a claim for refund .`EXecutive hereby agrees to execute an appropriate power of
attorney authorizing the 'l`ax Representative to represent E>;ecutive with respect to the E>:cise
lanes Bxecntive tin-ther agrees to take any other appropriate actions reasonably requested by the
'l`ax Representative rn connection tl:rercwith; provided, however, that the Colporation shall

- reimburse Executive for any expenses incurred by Executive as a result of compliance with Sneh
requests `

(3) It`the Tax P..epresentative files a claim for refund ofExcisc _Taxcs
with respect to which the Corporation has made a Gross-Up Payment and such renlnd claim` rs
allowed by the IRS or by the final judgment of a court of competent jurisdiction Bxecutive shall
endorse the refund check payable to the Corporation and shall send the refund check to the

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Corporation not later than five (5) days aner receipt nom the IRS-

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(4) I.t` the Corporation designates a Tax Representative, the
7 Corporation shall pay all of his professional fees and expenses and hold Execntive harmless from
any claims in connection therewith 'l`he Tax Representanve shall keep Exccutivc timely
informed of all significant developments` m the Excise 'l`ax matter and shall send to Execm;ive
. copies of all correspondence relating thereto.
.(5) ‘ Notwithstanding anyd:ing herein to the connery, if the Corporation
, 15 in material breach of any ofits obligations pursuant to this Agreemcnt, the Corporation s rights
pursuant to this Subseciion T(e} shall_be extinguished and Exeeutive shall have the right to
revoke any power of attorney executed pursuant to this Subsection 7{e).
' 8. ` No Oblieation to Mitiaa_te Damaaes. 'I`he Execniive shall not be obligated to
mitigate any damages by seeking other employment or otherwise and no amount payable
hereunder and rio beneiit or service credit for benefits shall be reduced m the event that the
Executive shall accept altemative employment
9. Benef‘its Payable Only From Corporatc Assets.

{a) No 'l`rlist. Notbing contained m this Agreement, and no action taken
pursuant to its provisions by either party hereto shall create or be construed to create a trust of
any kind, or a Educiary relationship between the Corporation and the Exec\rtive or his
Beneiiciary_

(b) Executive‘s Status as Unsecured General Credii:or. The payment of any
benehts hereunder to the Executive or his Bene£ciary shall be made from assets Whieh shall
continue for all purposes, to he a part of the general assets ofthe Corporation; no person shall

have or acquire any interest in such assets by virtue of the provisions oft'ms Agreemenr_ 'l`o me

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extent that the Executive or his Beneficiary acquires a right to receive payments from the
Corporation under the provisions hereot, such right shall be no greater than the right ot`anyl
unsecured general creditor of the Corp oration_

(c) Rccoverv of,Cost ofProvidin}z Bcnciits- In the event that,. in its discretion,
the Cor_poration purchases an insurance policy insuring the life of the Executive to enable the '
Corpora_tion to rccover, in whole or in part, the co st of providing any benefits hereunder, neither
the E:secutivc nor his Beneticiary under this Agreement shall have or acc-rone any rights
whatsoever therein Tlie Coiporation shall be the sole owner and beneficiary of any such policy
and, as suchj shall possess and may exercise all incidents ot` ownership therein

10. Detenninmion ofBenet`Lts and Clairns Procedure. 'I`he Cozporation shall make all
determinations as to rights to beneits under this Agrcernent Suhject to and m compliance with
`d:L_e specific procedures contained` m the applicable regilations promulgated under the l`-Ernployee
R.etirement lncor'ne Secun`ty Act of 1974 as amendcd: (i) any decision by the Cozporation
denying a claim for benefits under this Agreement by die Executive or his Beneiciary shall be
stated int writing by the Corporatlon and delivered or mailed to the claimant; (ii) each such notice

l shall set forth the speciic reasons for.die denial,`written to the best ofdie Corporation's ability in
a manner that may be understood without legal or actuarial counscl; and (iii) the Corp oraT:`Lon
shall afford a reasonable opportunity to the claimant whose claim for benefits has been denied for
a review of the decision denying such claim_ `

1 1. Non-exclusivit§; of R_iglgts. N othing in this Agrecmcnt shall prevent or limit thc
Executlve' s continuing or future participation in any benetlt_ bonus, incentive or other plan or

program provided by the Co@oratlon or any Afhliared Companics and for Which the E.Xecutive

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may qualify, nor shall anything herein limit or otherwise aFfect such rights as the Executive may
have under any other agreements with the Corporarion or any Af§liated Companies. Amounts
which are vested benehts or which the Executlvc is otherwise entitled to receive under any plan
or program ot` the Corporation or any Ath`liated Cotnpanies shall be payable in accordance with "
the terms of such plan cr program o f

‘ 12- _ l~`ull Settlenieut. Ancr a Change of Control= the Corporation's obligation to make
the payments provided for herein and otherwise to perform its obligations hereunder shall not be
affected hy any circurnstances, including without limitation any set-chi counterclaim
recoupment defense or other right which the Cor_poration may have against the Executive or
.others. Unless it is finally determined by a court of competent jurisdiction after all available
appeals that the Corporai:ion has validly terminated die Executive's employment for Caus'e, the l
Corporation agrees to pay, to the full extent permitted by law, all legal fees and expenses which '
the Ezrecutive may reasonably incur as a result-cf any contest (regardless of the outcome thereot)
by the borpora.tion or others of the validity or enforceability of, or liability under, any provision
ofthis Agrecmerlt oranjr guarantee of performance thereof, plus, in each case, interest
compounded quarterly, on the total unpaid amount determined to be payable hereunder, such
interest to be calculated on the basis of the prime commercial lending rate announced by US
lBar-il.'1 N.A. in effect "from. time to time, for the period commencing on the date ot` such contest
and ending on the date on Which the Corporation shall pay such amount _

13- Covenants. n
(a] n Non-Comp.etition.

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(l`) Executive recognizes that during the course of Executive’s

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employment with the Corporation, Executive has been and will be insuucted al)'outlan'd become
acquainted with confidential information ofthc Corporation, including without ]_iroitation, l
customer lists, methods ofsales, the existence and contents and terms of this Agreement,
methods of sales proctu't.zn'lents sales procurement techniques sales procedures and _
equipment/suppl§i infonnation, equipment and supply acquisition procedures and processes and
sources, customer evaluation procedures, customer maintenance and supply maintenance
procedures and corresponding information relating to persons, firms and corporations Which are
or may become customers of the Comoration_ and, hirther, companies from which the
Corporation obtains various products and supplies for sale, resale and distribution to customers
of the Corporation_ This confidential information further includes, but is not limited to, customer
identity, supplier identity and tenns, purchase tenns, sales techniques purchase conditions and
. rates, customer_needs,, billing procedures and processes, contacts and customer mismme
Further, Executive agrees and acknowledges that the development and assemblage and
maintenance of the customer base of the Corporation has taken extraordinary timen money,
_ resources, training, and eH`ort by the Corporation and its employees

(2} _Executive agrees that he will not during the Term of Employrnent
and for a period oftwo (2) years following cessation of his employment by the Corporation
("Restricted Period"}, for any cause or rcason, directly or indirectly

(A) engage in any business in competition with the Corporati_on

and its Afliliates or supply and sell to present customers, former customers and prospects of the
Corporation and its AfEliates; or

[B) own1 manage, operate, control, advi§e, be employed by,

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c:c;»:l:i:in.!ltJ or materially participate inj or _he materially involved in. any manner with the ownership,
management operation or control of, individually or through any omer entity or device, any
business that competes with the business then conducted by the Corporati on or any Affiliate;
provided, however_ that mere ownership as an investor ofnot more than five percent (5%} of the
securitiesl of a corporation or other business enterprise shall not in and of itselfbe deemed to
violate this Scction 13{&)(2}(3)_

(b) Nondisclosore of Cont`rdeotia.l Int`ormation.

 

(]) . Memdve will not1 except as authorized by the Corporat:ion in
writing, during or at any time after the termination of Executive s employment With the
Corporation, directly or indirectly use for himself or others, o_r disclose corr).rntmicate, divulge,
furnish to, or com/cy to any other person__ irm, or corporationJ any secret or confidential
information, knowledge or dam ofthe Corporanon or that of third parties obtained by Er;ecutive
during T]J_e period of his ernplo§mcntwith the Corporation. Such inforrnation, knowledge or data
includes, without ]imitation, the following

. _(£i) Secret or confidential matters of a technical name such asP
but not limited to, metlmds, know-how, foimulations, compositions, processes, discoveries,
machines inventions; computer programs and similar items or research projects involving such
items, ‘

(B) Secret or confidential matters of abusiness nature such as,

but not limited to, marketing policies or sirategies, information about costs, price lists,

purchasing and purchasing policies, protits, market sales or lists of customers, customer history

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ioformation, and ` -

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(C) Secret or confidential matters pertaining to future
developments such as, but not limited to, research and development or future marketing or
merchandising

(2) , Ehrec:utive, upon termination of his employment with tile
l Corporation, or lat any other time upon the Corporaiion‘s request shall deliver promptly to die
Coiporation all manuals, letters, notes, notebooks, reports, fonnulations, computer programs and
. similar items, memoranda lists of customers, customer history information and all other
materials and copies thereof relating m any way to the Corporation s business and in any way
obtained by E>tecutive during the term of employment with the Corporation Which are in his
possession or under his control; and E>;ecutive will not make or retain any copies of any ofthe
foregoing and will so represent to the Corporation upon termination of his employment

(c) inducement

(l) Executive agrees that during the 'I`ernt of Employment and durmg
the Restricted Period, E}tccutive shall not use any confidential information for the purposes of '
inducing or attempting to induce any present former, or prospective customer of the Corporation
or its A;E|':iliates to become a customer of Executive or any person, Erm, or coiporation__ or
business association with which Executive is affiliated in any capacity Witb respect to the
markets supplied by the Corporation or its Afliliates.

' (2) Executive agrees that during 'dle 'l`erm of Employment and during

tile l?.estricted.l?f‘:r'iod7 Executive shall not directly or indirectly solicit for employment or employ
any of the Corporation's employees to work for Executive or any business association with

_ whichfwhom Execut:ive is amliated, or to Worlc for any other company iri" the markets supplied by

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the Corporation or its Afliliates.

(d) lnterest cf Parties- Executive agrees that The duration of the limitations set
forth in'this Section 13 are reasonable under the circurnstances, considering Exeeutive's position
with die Corporation and other relevant factors, and that this will not consdmte a serious
handicap to Executive in securing future employment

(e) Q§LJLHQM. `Exeeutive shall promptly communicate and
disclose to the Corporation all information, observadons and data obtained by Executive in the
course of Executivc s employm ent. A]l written materials records and documents made by
` Executive or coming into E>'cecutive s possession during the 'l`errn ofEmployment concerning any
inventions, products, processes or equipment, manufactured, used, developed:, investigated or
considered by the Corporation or any Affiliated Companies shall be the property of the
Corporatlom and upon termination of the 'l`erm of Employrnent, or upon request ot` the
Corporation during the Term ofEmployment, Executive shall promptly deliver the same to the
Corporation. E>:ecutive agrees to render to the Corporation such reports _of'the activities oftl'le
business undertaken by Executi've or conducted under E>;ecutivc`s direction during the 'l_`eirn of
Employment as the Corporation may reasonably request ,

d (f) lnventions.

{l) Executive shall promptly communicate and disclose in writing to
the Corpora§ion all those inventions and developments whether patentable or not, as Well as
patents and patent applications {hereina‘fter collectively called "Inventions“), made, ¢::onceime'd1
developed or purchased by Executive? or under vehich Execunve acciuires the right to grant

licenses or tolbecome licensed, alone or jointly with_others, during the 'l;hmu of Employment,

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which have arisen or may arise out of Execntive‘s errq;.\lc;»yznent7 or relate to any matters pertaining
to, applicable to, or useful in connection with, the business or affairs of the Corporation or any
AMliated. Companies. All of Executive's ri@t, title and interest in, to and under all such
inventions, licenses and rights to grant licenses shall be the sole property of the Corporation.
Any such inventions disclosed to anyone by Exec:ntive within one (1) year after the termination '
of the Terrn of Employment for any cause Whatsoever shall be deemed to have been made or
conceived by E'seentive during the Term of Bmploy:nent_
(2) AS to all such inventions Bxeentive sha]l, upon request of the
Corporsnon, during the Terrn of Emplojrnent or thereafter: v
7 _[A_) E:tecute all no contents which the Corporsn`on shall deem
necessary or proper to enable it to establish title to such inventions3 or other rights, and to enable a
it to Ele and prosecute applications for letters patent ofthe `United States and any foreign conntry;
and l n
(B) . ~ Do all things (including the giving of evidence in suits and
other proceedings) winch the Coiporetion shall deem necessary or proper to ohtainj maintain or
to assert patents for any and all such inventions or to assert its rights in any intentions not
' patented.'

All expenses incident to eny action required by the Corporation or taken on its behalf
pursnsn.t to_the provisions of this paragraph shall be borne by the Comoration including without
limitation e.reesonsble payment for Execntive's tiine and expenses involved in ease he or she is
not then in its employ.

(g) Linggnon- Exeoutive agrees that during the 'I`ern_:¢:_`ofErnploymc'-:nt or

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thereafter, E)recutivc shall do all things, including th¢ giving Of evidence in guns and OH"GI
proceedings which the Corporation shall deem necessary or proper to Dbtein, maintain or assert
rights accruing to the Corporation during the 'l`erm of Employment and in connection with which
Executive has knowledge information or expertise All reasonable expenses incurred by
Bxecutiye during the ’l`crrn of Ernployment or thereafter in iiiliilling die duties set forth in this
‘.lSection, shall be reimbursed by the Corporation to the hill extent legally appropriate includiug,
without li;l:::).itat`lonJ a reasonable payment for Ex_ecutiv'e's time in the event this Agr_ecment has
terminated prior to the time Executive renders such assistanceg advice and counsel-
14. §gi_.iiry. The parties hereto ages that the services to bc rendered by Executive are
special, unique and of anie:;n'acrd_inary character_ ln die event of the breach by Executive of any
.of die proirisions of this Agreemen_t, the Corporation, in additions and as a supplement t_o such
other rights and remedies as may exist in its favor, may apply to any court oflaw or equity
having jurisdiction to enforce the specific performance of this Agreernent, and/or may apply-for
injunctive relief against any act Which would violate any of the provisions of this Agreement.
115- . Entire Asreernent. l'I`his Agrcement contains the entire understanding of the
_ parties hereto with respect to the subject matter hereof
16- No ass@' gear
(a)~ l`his Agrcement is personal to the Ez:ecctive and without the prior Written
consent of the -Corporation shall not be assignable.by the Executive other than by will _or the laws
of descent and distribution 'l`his Agreement shall inure to die benefit of and be enforceable by
the Executive‘s legal representatives and Beneflciary.

f

(b) This Agreement shall inure to the beneth of and be binding upon 'd:Le

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Corporation and its successors The Corporati-on shall require any successor to all or
substantially all ofthe business andfor assets ofthc Corporaticn, whether direct or indirect, by
purchase merger, consolidation acquisition of stc ck, or otherwise by an agreement in form and
substance satisfactory to the Execun`ve, expressly to assume and agree to perform this Agrecment
`m the same manner and to the same extent as the Corporation Would be required to perform if no
such succession had taken place
17- ____ff§§‘i¢§llblli, ,,- The invalidity OI unenforceability`cf any provision of this

Agreern ent shall not affect the validity or enforceability of any other provision of this Agreerncnt,
and this Agreemcnt shall be construed in all respects as if such invalid or unenforceable v
provision or clause were omitted `
' ` lS.l I\.*iisccllaneous.

(a) This Agreement shall be governed by and construed in accordance With '
The laws ofthel State of M-_issouri, udthout reference to principles cf conflict oflaws_ ”.['he
captions of this Agreernent are not part of the provisions hereof and shall have no force cr effect
°.l`ln`s agreement may not be amended or modified other than by a written_agreement exemted by -
the parties hereto or their respective successors and legal representatives

{b) ' In the event that litigation is required to enforce any provision of this
Agreerncnt,' subject to the provisions of Sectlon 12 hereof, the prevailing party shall be entitled to
reasonable attorneys fees.

(c) All notices and other communications hereunder shall be in writing and
shall loe-given by hand delivery to the other party or by registered or certined mail, return receipt

requested, postage prepaid, addressed as follows:

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It` to 1112 Execmive:

.1_ ef&ey Sextor.l

Ifto the Cnmoration:

Corlsumer Pro§ams Incorporated
1706 Washington AV23112 -'
' St. Louis Missouri 63103
'Atteniion: Dave P:lerson7 C|:uef Executive Offieer _

` ' 21 to 211»::11 ot1:121 address 23 211112-1' paxty shall h2v_e innished to 1112 other 111 w11153g 111 accordence' `

4 `here\arit]i.‘ Notice and commissions shall be effective When actua]ly received by_ the addressee

 

n '-; -, (1:1) '1`1113 A§2213211t co11t333 £112 23312 understa3613g 21`1;112 1321'1_123 hereto
` . truth respect to the subject matter hereof d
n g (2) 1112 Corpor2323 1331 withh21d from any 2130111113 payable 113<121 this a
' _A§eei:uent mich feder2_1 state or local taxes 23 3112_11 be required to be Withheld p§euzant to 2351
y :` z -‘ 2pp1_122ble 1213 er regulauon.

]`_1\1 WI'INESS W'HEREOF, the 13211;122 hereto have executed 333 A§22mer11`111 duplicate

' 211 23 01`1112_ day 2311 year iizst above ‘\:1.'111:123__

S }NCORPORATED

 

/J?-§ffrey Sextc`;l . j .

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EXHIBIT A

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EXHIBIT B

FISCAL YEAR 2003 ANNUAL BONUS PLAN

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EXI-IIBIT C

M_ETF_S

. gg&§gg Bonus_ Bxecutive shall receive a bonus 111 the amount 01°$20,000 upon execution

and delive1y ofthe Employment Agreement.

Vacation. Executive shall be entitled to ive_weeks of paid vacation annually

Relocation A]_lowance. The Corporation Will reimburse Executive for customary and
reasonable costs incun'ed 111 relocating to St- Louis Missoud', includmg a reasonable
temporary housing allowance but excluding any loss incurred 111 the Sale of Execuijvc’ s
Currenf.' residence - `

 

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